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                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA, )                     CR. NO. 06-00079 JMS-KSC
                              )
          Plaintiff,          )                 ORDER DENYING DEFENDANT’S
                              )                 MOTION FOR ADDITIONAL
     vs.                      )                 PEREMPTORY CHALLENGES
                              )
NAEEM J. WILLIAMS,            )
                              )
          Defendant.          )
_____________________________ )

     ORDER DENYING DEFENDANT’S MOTION FOR ADDITIONAL
                 PEREMPTORY CHALLENGES

                                   I. INTRODUCTION

              On January 23, 2014, Defendant Naeem Williams (“Defendant”) filed

a Trial Memorandum Regarding Additional Peremptory Challenges, in which he

argues that he is entitled to eight additional peremptory challenges. Doc. No.

2311. In light of the parties’ earlier filings on this issue and in the interest of

justice, the court construes Defendant’s Trial Memorandum as a Motion for

Additional Peremptory Challenges (“Motion”). The United States of America (the

“Government”) filed an Opposition on January 28, 2014.1 Doc. No. 2328.


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          On January 21, 2014, Defendant filed a Motion to File a Motion for Additional
Peremptory Challenges and Supporting Memorandum, Doc. No. 2290. On January 21, 2014, the
court issued an Order Requiring Government to Respond to the Defense Motion to File a Motion
for Additional Peremptory Challenges and Supporting Memorandum, Doc. No. 2296. The
Government filed its Objection on January 22, 2014. Doc. No. 2302. On January 23, 2014, the
                                                                                   (continued...)
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Pursuant to Local Rule 7.2(d), the court finds this matter suitable for disposition

without a hearing.

               For the reasons set forth below, the Motion is DENIED.

                                      II. DISCUSSION

               Federal Rule of Criminal Procedure 24(b) (“Rule 24”) authorizes

twenty peremptory challenges to each side in a federal capital case. Fed. R. Crim.

P. 24(b)(1). Non-capital felony defendants receive ten peremptory challenges to

the Government’s six. Fed. R. Crim. P. 24(b)(2). The rule further provides that

the “court may allow additional peremptory challenges to multiple defendants.”

Fed. R. Crim. P. 24(b).

               Defendant takes issue with the Rule’s provision of a less favorable

ratio of peremptory challenges vis-a-vis the Government for capital defendants

than for non-capital felony defendants. Defendant contends that by offering non-

capital felony defendants more peremptory challenges than the Government, but

providing the same number to both sides in a capital case, Rule 24 violates his

constitutional rights to equal protection, due process, and trial by an impartial jury.

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        (...continued)
court denied Defendant’s Motion without prejudice as premature. Doc. No. 2305, Entering
Order. The court stated that it was “not foreclosing the filing of such a motion as jury selection
proceeds” and confirmed that “counsel is certainly permitted at any time (without court
permission) to file a ‘Trial Memorandum Regarding Additional Peremptory Challenges’ setting
forth pertinent legal principles.” Id. The next day, Defendant filed the instant Trial
Memorandum. Doc. No. 2311.

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Doc. No. 2311, Def.’s Mot. at 2. Defendant further contends that the court has

discretion to award additional peremptory challenges to ensure a fair trial. Id. at 6-

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              Defendant seeks a ruling from this court “acknowledg[ing] its

[discretionary] authority to grant additional peremptory challenges when and if the

need arises,” and an order granting “his request for eight additional peremptory

challenges under [] constitutional principles” “at the appropriate time.” Id. at 8-9.

The court will set forth the legal framework for peremptory challenges and then

turn to Defendant’s arguments.

A.      Legal Framework for Peremptory Challenges

              Peremptory challenges “allow parties to exclude a given number of

persons who otherwise would satisfy the requirements for [jury] service.”

Edmonson v. Leesville Concrete Co., 500 U.S. 614, 620 (1991). They are “part of

our common law heritage” and have long been used “to secure [the] constitutional

guarantee of trial by an impartial jury.” United States v. Martinez-Salazar, 528

U.S. 304, 311, 316 (2000); see also Swain v. Alabama, 380 U.S. 202, 219 (1965)

(noting that the function of peremptory challenges “is not only to eliminate

extremes of partiality on both sides, but to assure the parties that the jurors before




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whom they try the case will decide on the basis of the evidence placed before them,

and not otherwise”).

              However, the Supreme Court has also consistently “recognized . . .

that such challenges are auxiliary” to a defendant’s right to trial by an impartial

jury. Martinez-Salazar, 528 U.S. at 311. In other words, peremptory challenges

themselves “are not of constitutional dimension,” rather, they are just one “means

to achieve the end of an impartial jury.” Ross v. Oklahoma, 487 U.S. 81, 88 (1988)

(internal citations and quotation marks omitted); see also Rivera v. Illinois, 556

U.S. 148, 157 (2009) (“[T]here is no freestanding constitutional right to

peremptory challenges.”); Stilson v. United States, 250 U.S. 583, 586 (1919)

(“There is nothing in the Constitution of the United States which requires the

Congress to grant peremptory challenges to defendants in criminal cases; trial by

an impartial jury is all that is secured.”).

              Because the right to peremptory challenges is a statutory creation, “it

is for the [legislature] to determine the number . . . and to define their purpose and

the manner of their exercise.” Ross, 487 U.S. at 89; see also Frazier v. United

States, 335 U.S. 497, 506 n.11 (1948) (“The right is in the nature of a statutory

privilege, variable in the number of challenges allowed.”) (citation omitted);




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Stilson, 250 U.S. at 586 (“The number of challenges is left to be regulated by the

common law or the enactments of Congress.”).

              With this framework, the court now addresses Defendant’s arguments

that Rule 24 violates his constitutional rights, and that this court has discretion to

grant additional peremptory challenges.

B.      Constitutional Challenges to Rule 24

        1.    Equal Protection

              The Equal Protection Clause requires that persons who are similarly

situated be treated alike. City of Cleburne v. Cleburne Living Ctr., Inc., 473 U.S.

432, 439 (1985). If the statute at issue affects a “suspect class” or “burdens the

exercise of a constitutional right, then courts must apply [a] strict scrutiny”

analysis. Ball v. Massanari, 254 F.3d 817, 823 (9th Cir. 2001). However, if the

statute “does not involve a suspect . . . classification” or constitutional right, “then

rational basis review applies, in which a court must ask whether the statute is

rationally-related to a legitimate governmental interest.” Id. (internal quotation

marks and citation omitted).

              Defendant contends that Rule 24’s different provisions for capital and

non-capital felony defendants constitute an “arbitrary diminution of peremptory

challenges,” and therefore, the court must apply a strict scrutiny analysis to an


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evaluation of his equal protection argument. Defendant is mistaken -- capital

defendants are not a “suspect class.”2 See Green v. Johnson, 160 F.3d 1029, 1044

(1st Cir. 1998); United States v. Tuck Chong, 123 F. Supp. 2d 559, 562 (D. Haw.

1999); see also United States v. Johnson, 495 F.3d 951, 963 (8th Cir. 2007)

(determining that rational basis review applied to equal protection analysis of Rule

24); United States v. Capua, 656 F.2d 1033, 1038 (5th Cir. 1981) (explaining that

provisions “fixing the number of peremptory challenges” are “not [an] inherent

component[] of the right to a trial by a fair and impartial jury”). Therefore, the

court applies a rational basis review to Rule 24’s provision of different numbers

and ratios of peremptory challenges to capital defendants and non-capital felony

defendants.

               In Johnson, the Eighth Circuit addressed this very issue and

determined that a rational basis exists for Rule 24’s different provisions of

peremptory challenges to capital and non-capital felony defendants:

               The legislature is not required to calculate with precision
               the exact number of challenges necessary to help secure
               the defendant’s right to a fair trial. Nor is the legislature
               required to arrive at a perfect defendant-to-government
               ratio. . . . [I]n a capital case, the venire panel’s views on
               the death penalty become the primary pivot around which
               jury selection turns. The government and the defense
               arguably have an equal interest in exploring the jurors’

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          And, as set forth above, there is no constitutional right to peremptory challenges.

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             attitudes. Rule 24(b) may not be “perfectly calibrated,”
             perhaps, but it passes rational-basis muster.

See also United States v. Williams, 2013 WL 1563708, at *1 (M.D. Pa. Apr. 12,

2013) (agreeing with Johnson’s reasoning and determining that Rule 24(b)

satisfied rational basis review); accord Tuck Chong, 123 F. Supp. 2d at 563

(finding that rational basis exists for Rule 24 distinctions).

             Defendant urges the court to reject Johnson’s reasoning, arguing that

Johnson failed to consider that jury selection in a capital case extends beyond

prospective jurors’ views concerning the death penalty, but also takes into account

the effect of pretrial publicity and prospective jurors’ views on the presumption of

innocence and the right to remain silent.

             Defendant’s argument is neither legally sound nor persuasive.

Prospective juror views concerning the death penalty are unique to capital cases

and of crucial importance to both sides in selecting a fair and impartial jury. See

Tuck Chong, 123 F. Supp. 2d at 563 (finding that in capital cases “it is necessary to

draw a jury that is impartial not only to the particular defendant, but also can

impartially weigh the evidence in determining whether a sentence of death is

appropriate”). The court must inquire to ensure that jurors are both death qualified

and life qualified.




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               Nor can Defendant establish that concerns over the effect of pretrial

publicity3 and prospective juror’s views on the presumption of innocence and the

right to remain silent are of less importance to the Government in selecting a fair

and impartial jury in a complex capital case. See United States v. Mitchell, 502

F.3d 931, 954 (9th Cir. 2007) (explaining, in appeal of a capital conviction, that the

government has a “compelling interest” in determining “whether a juror is able to

follow the law and apply the facts in an impartial way”) (citing Wainwright v. Witt,

469 U.S. 412, 420-26 (1985)).

               Finally, Defendant’s argument that Rule 24’s provision of an equal

number of peremptory challenges to both sides in a capital case constitutes an

“arbitrary diminution of peremptory challenges” is not persuasive. To the

contrary, by greatly increasing the number of peremptory challenges available to

capital defendants, Rule 24 is hardly a diminution of peremptory challenges. And

by providing an equal number to both sides, Rule 24 effectuates the legitimate

government purpose of seating a jury that can impartially consider evidence in both

the guilt and penalty phases of a capital case.




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          In fact, this case has generated minimal pretrial publicity.

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             The court concurs with Johnson and concludes that Rule 24 satisfies

rational basis review. Accordingly, this court finds that Rule 24 does not violate

Defendant’s constitutional right to equal protection.

      2.     Due Process

             A defendant’s constitutional right to due process is violated where a

procedural deprivation is “of sufficient significance that it denies the defendant the

right to a fair trial.” United States v. Barnette, 211 F.3d 803, 818 (2000) (citing

Greer v. Miller, 483 U.S. 756, 765 (1987)); see also Rivera, 556 U.S. at 162

(determining that state court’s good faith error in denying capital defendant’s

peremptory challenge to prospective juror did not deprive defendant of his right to

a fair trial before an impartial jury and therefore, did not violate defendant’s right

to due process). With respect to peremptory challenges, the Supreme Court has

held that as long as a defendant receives all of the peremptory challenges that Rule

24(b) provides and receives a fair trial, there is no due process violation. Martinez-

Salazar, 528 U.S. at 317; cf. Ross, 487 U.S. at 90-91 (determining there was no

federal constitutional due process violation where state criminal defendant received

all peremptory challenges authorized by state statute and was tried before an

impartial jury).




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             Defendant contends that by providing a less favorable ratio of

peremptory challenges to capital defendants, Rule 24 violates his due process right

to more procedural protection than that provided to non-capital defendants. Again,

Defendant is mistaken. As set forth above, provided the jury chosen is impartial

and Defendant receives all that Rule 24 provides, he cannot establish a due process

violation. Defendant does not assert that application of Rule 24 will necessarily

prevent the seating of an impartial jury. Absent proof of such an assertion,

Defendant cannot “tenably assert any violation of his . . . right to due process.”

Martinez-Salazar, 528 U.S. at 317. Accordingly, the court finds that Rule 24 does

not violate Defendant’s right to due process.

      3.     Sixth Amendment Right to a Fair Trial

             Finally, Defendant contends that the court has discretion to grant

additional peremptory challenges in order to secure a fair trial and seeks the court’s

acknowledgment of such discretion.

             Rule 24 clearly provides authority to grant additional peremptory

challenges to multiple defendants, but is silent with regard to trials of single

defendants. See Fed. R. Crim. P. 24. Nevertheless, courts have granted additional

peremptory challenges to single defendants in rare instances where the nature and

extent of pretrial publicity undermined the court’s ability to seat a fair and


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impartial jury. See United States v. Blom, 242 F.3d 799, 804 (8th Cir. 2001)

(affirming district court’s grant of additional peremptory challenges to each side to

counter problems presented by pretrial publicity); United States v. Moussaoui,

2002 WL 1987955, at *1 (E.D. Va. Aug. 16, 2002) (granting additional

peremptory challenges to both sides in order to ensure a fair trial in light of

complexity and notoriety of case against defendant charged with conspiracy to

commit acts of terrorism transcending national boundaries in connection with the

events of September 11, 2001). Thus, the court recognizes that it has discretion to

permit a defendant in excess of twenty peremptory challenges.

             But in this case, other than a mere conclusory remark that “additional

peremptory challenges are necessary because of extensive pretrial publicity and for

other just reasons,” Defendant has failed to show that he is unlikely to be tried

before a fair and impartial jury. As stated above, this case generated little pretrial

publicity and it has not been an issue of concern after fourteen days of jury

selection. And Defendant raised no other specific reason why he would not receive

a fair trial before an impartial jury absent additional peremptory challenges.

Accordingly, the court (1) denies Defendant’s request for additional peremptory

challenges on the basis of pretrial publicity; and (2) declines to address whether




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other purely speculative conditions might give rise to additional peremptory

challenges.

                                 III. CONCLUSION

              Based on the foregoing, Defendant’s Motion for Additional

Peremptory Challenges is DENIED at this time.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, February 21, 2014.




                                            /s/ J. Michael Seabright
                                           J. Michael Seabright
                                           United States District Judge




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